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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

MICHAEL SALVAGGI,                               Civil No. 3:21-cv-647

             Plaintiff                          (Judge Mariani)

      V.


MR. BROWN, et al.

             Defendants

                                        ORDER

      AND NOW, this___.___ day of October, 2021, upon consideration of Defendants'

motion (Doc. 8) to dismiss, and for the reasons set forth in the accompanying Memorandum,

IT IS HEREBY ORDERED THAT:

      1.     The motion (Doc. 8) is GRANTED. The complaint is DISMISSED.

      2.     The Clerk of Court is directed to CLOSE this case.

      3.     Any appeal from this Order is DEEMED frivolous and not in good faith. See
             28 U.S.C. § 1915(a)(3).




                                         Rooert D. Mariani
                                         United States District Judge
